Case 2:20-cv-02894-JTF-cgc Document 49 Filed 10/04/21 Page 1 of 1            PageID 115




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION

1ST SIGNATURE LENDING, LLC,

      Plaintiff/Counter-Defendant,

v.                                                   Case No. 2:20-cv-02894-JTF-cgc

BRIGHTON BANK,

      Defendant/Counter-Plaintiff.



                                 JUDGMENT

        DECISION BY COURT. This action came for consideration before the Court. The
issues have been duly considered and a decision has been rendered.

       IT IS ORDERED AND ADJUDGED that this action is dismissed with prejudice in
accordance with the Order of Dismissal, filed October 4, 2021. (ECF No. 48.)


APPROVED:
s/John T. Fowlkes, Jr.
JOHN T. FOWLKES, JR.                                 THOMAS M. GOULD
UNITED STATES DISTRICT JUDGE                         CLERK

October 4, 2021                                      s/LaFonda Willis_____
DATE                                                 (BY) LAW CLERK
